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Ryan Shaffer | ryan@mss-lawlirm.com
h] meyer, Shaffer Robert L. Stepans | rob@mss-lawfirm.com

James Murnion | james@mss-Jawlimm.com
tepans, PLLP | james@mss aw!

Katy Gannon [| katy@mss-lawilrm.com

July 28, 2023
Via Email and U.S. Mail
Jon A. Wilson Christopher T. Sweeney
Brett C. Jensen Gerry P. Fagan
Michael P. Sarabia Jordan W. FitzGerald
BROWN LAW FIRM, P.C. Moulton Bellingham
PO Drawer 849 27 North 27" Street, Suite 1900
Billings, MT 59103 P.O. Box 2559
jwilson@brownfirm.com Billings, MT 59103
biensen@brownfirm.com christopher.sweeney @moultonbellingham.com
msarabia‘@ brownfirm.com verry. fasan@moultonbellingham.com

jordan. fitzgerald@moultonbellingham.com

Joel M. Taylor, Esq. pra hac vice
Miller McNamara & Taylor LLP
100 South Bedford Road, Suite 340
Mount Kisco, NY 10549

jtavlorammi-law.com

Re: Response to July 27, 2023 Letter re Rule 35 Independent Medical Examinations
Caekaert & Mapley v. Watchtower Bible and Tract Society of New York, Inc., et al.
Rowland & Schulze v. Watchtower Bible and Tract Society of New York, Inc., et al.

Dear Brett,

Thanks for your letter of July 27, 2023. Katy Gannon is on vacation, so I am picking this up to
move it along on your requested schedule. We have been endeavoring to move this along
expeditiously, but it seems that having Dr. Butz review everything and then respond in kind with
a letter of his own has not been especially efficient. We will continue to work expeditiously with
you to get an agreement in place and the evaluations scheduled.

We appreciate Dr. Butz identifying the nature of the testing to be conducted (“academic,
cognitive, and personality testing”) and it seems that we can add his proposed language to
paragraph 6 of the MOA. Furthermore, we are happy to just accept Dr. Butz’s proposed
language regarding the scope of the examinations and remove our recommended redlines that Dr.
Butz advised you not to accept. I think this takes care of paragraph 6.

We understand Dr. Butz’s concer with having to time stamp the audio recording. Given Dr.
Butz’s agreement to make specific notes of when all tests are started and stopped (as well as
breaks) time stamping is not necessary.

EXHIBIT

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Missoula, MT. (406) 943-6929 | Jackson, WY: G07) 734-9544
430 Ryman St, Missoula, MT 59602 | mss-lawfirm.com
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As it pertains to evaluating Tracy Caekaert, she is still not cleared to travel by her primary care
provider. We would ask to set her evaluation towards the end of the evaluation period with the
hope that she will be cleared to travel, and we can bring her to Montana for the evaluation. If she
is not cleared, Plaintiffs are willing to cover Dr. Butz’s travel costs, including main cabin airfare
(if he wants to upgrade to business or first-class, we suggest that he pay for the upgrade), hotel
and conference room, and a daily meal stipend at the federal per diem. We do not believe it is
reasonable for Plaintiffs to pay Dr. Butz an hourly professional fee for the hours he is in

transit. This is because Dr. Butz could avoid the travel costs altogether if he conducted his
evaluation via video conference, as Plaintiffs’ expert did. It is our hope that Ms. Caekaert will be
cleared to travel to Montana, and we can avoid sending Dr. Butz to Arkansas, but we believe that
we have proposed a reasonable solution if she is not.

I would also like to speak with you about other areas upon which we may be able to reach
agreement before your 8/2/23 deadline, including: (1) reasonable costs of Dr. Butz’s examination
of Ms. Mapley in Australia; (2) release of the raw testing data and the audio recording to
Plaintiffs’ counsel and their retained psychologist and psychiatrist (CVs attached); and (3)
preservation of the attorney-client privilege. In particular, as it pertains to item 2 (release of
testing data and the audio recording), I would like to hear your thoughts on Rule 26’s
requirement that an expert disclose information and data relied upon in reaching
conclusions, as well as the American Psychological Association’s Code of Conduct Section
9.04, which indicates that a psychologist is not prohibited from turning over raw test data
to those identified in a release. On that note, Dr. Butz’s release could include that he will
release the raw test data and audio recording to Plaintiffs’ counsel and Plaintiffs’ experts per
Rule 26, and we are happy to make such data and information subject to the Court’s protective
order.

Finally, in our June 30, 2023 letter to you, we stated that “we would like to understand your
position as to why you believe that the unintentional / inadvertent disclosures of attorney-client
privileged information by Plaintiffs in an exam conducted by the Defendants’ retained
representative is a legitimate source of evidence or information to be used in this case?” We
would hope that as defense counsel negotiating the terms of an MOA for the taking of the
Plaintiffs’ examinations, you would directly respond to our question because we want to
understand your position for the purpose of conferral. To date, you have chosen not to respond
to our question. Dr. Butz simply states that redaction of privileged information is not acceptable,
and Plaintiffs’ counsel should “train” the Plaintiffs on how to anticipate and refrain from
divulging privileged information. With all due respect to Dr. Butz, we don’t believe questions
about handling attorney-client privileged information is within his expertise and discretion, and it
is one for the attorneys to address. We have shared with you why we believe that relying on
laypersons going through an exhausting mental exam to identify questions that could elicit
attorney-client privileged information is not a great solution. To date, you have yet to explain
why redaction of the inadvertent disclosure of attorney-client privileged information is not
acceptable. As a result, we don’t understand the basis of your position. In particular, I would
ask that you look at Fed. R. Evid. 502(b), which provides that the inadvertent disclosures do
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not operate as a waiver of the attorney-client privilege when the holder took reasonable steps to
prevent the disclosure and rectify the disclosure.

Overall, it seems like we agree on much more than we disagree on, and | think a phone call could
help identify the precise nature of any remaining disagreement and make sure we are not talking
past each other in our written correspondence. I am available to talk with you when convenient,
please let me know a time that works.

Sincerely,

MEYER, SHAFFER & STEPANS, PLLP

fan R. Shaffer

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TRENT C HOLMBERG, M.D., DFAPA

12481 South Fort Street, Suite 275
Draper, Utah 84020

Phone : (801) 432-2077

Fax : (801) 432-2079

Email: tchmdpc@gmail.com
Web: www.trentholmbergmd.com

PRESENT PROFESSIONAL PRACTICE

Private Practice of Adult and Forensic Psychiatry
Draper, Utah

2003-present (Forensic practice)

2009-present (General Psychiatry practice)

Adjunct Assistant Professor of Psychiatry
University of Utah Department of Psychiatry
Salt Lake City, Utah

2003-present

Medical Director, Strive Psychiatry
Draper, Utah
2020-present

PAST PROFESSIONAL EMPLOYMENT

Attending Psychiatrist
The Center for Change
Orem, Utah

2011- 2015

Staff Psychiatrist
Intermountain Healthcare
Salt Lake City, Utah
2003-2009

Medical Director, Mental Health Services
Salt Lake County Adult Detention Complex
MHM Services, Inc.

Salt Lake City, Utah

2006-2011

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Forensic Psychiatrist
Wyoming State Hospital
Evanston, Wyoming
2005-2006

MEDICAL LICENSURE

Utah: #376105-1205 (Utah Controlled Substance: #376105-8905)
Wyoming: #7225A (not active)
California: #A77789 (not active)

BOARD CERTIFICATIONS

2004 General Adult Psychiatry
American Board of Psychiatry and Neurology
Certificate #53349

2005 Forensic Psychiatry
American Board of Psychiatry and Neurology
Certificate #1518

POST-DOCTORAL TRAINING

1998-2002 Adult Psychiatry Residency
University of Utah Health Sciences Center
Department of Psychiatry
Salt Lake City, Utah

2000-2001 Assistant Chief Resident
University of Utah Health Sciences Center
Department of Psychiatry
Salt Lake City, Utah

2002-2003 Forensic Psychiatry Fellowship
University of California~-Davis
Sacramento, California

POST-GRADUATE EDUCATION

1994-1998 University of Utah School of Medicine, Medical (M.D.) Degree
Salt Lake City, Utah
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UNDERGRADUATE EDUCATION

1991-1994 University of Utah
Honors BA - Psychology - Cum Laude
Minor - Italian
Salt Lake City, Utah

1987-1988 University of Utah
Salt Lake City, Utah

VOLUNTEER WORK

Immediate Past President, Utah Psychiatric Association - 2020-2022

President, Utah Psychiatric Association - 2018-2020

Executive Board Member, Utah Psychiatric Association - 2018-present

Area VII Alternate Delegate to the American Psychiatric Association (APA) — 2019
Member of the APA’s Steering Committee on Maintenance of Certification — 2021-present
Delegate to the Utah Medical Association - 2018-present

Secretary of the American Academy of Psychiatry and the Law — 2022-2023

Councilor, American Academy of Psychiatry and the Law - 2017-2020

Program Committee Co-Chair - 2020 annual meeting, American Academy of Psychiatry and the Law
Chair, Private Practice Committee - American Academy of Psychiatry and the Law - 2012-2017
Co-Chair, Membership Committee - American Academy of Psychiatry and the Law - 2020-present
Member of the Membership Engagement, Recruitment, and Retention (MERR) Task Force
American Academy of Psychiatry and the Law - 2021-present

Criminal Behavior Committee - American Academy of Psychiatry and the Law - 2011-2020
Geriatric Psychiatry and the Law - American Academy of Psychiatry and the Law - 2019-present
Government Affairs Committee - American Academy of Psychiatry and the Law - 2021-present
Media/Public Relations Committee - American Academy of Psychiatry and the Law - 2017-present
Membership Committee - American Academy of Psychiatry and the Law - 2015-present

Private Practice Committee - American Academy of Psychiatry and the Law - 2008-present
Suicidology Committee - American Academy of Psychiatry and the Law - 2016-present

Trauma and Stress Committee- American Academy of Psychiatry and the Law - 2014-present
Virtual AAPL Committee - American Academy of Psychiatry and the Law - 2022-present

Chair, Psychotropic Medication Ad hoc Committee - Missionary Mental Health Executive
Committee, Missionary Department, The Church of Jesus Christ of Latter-Day Saints

Psychiatric Committee - Missionary Mental Health Executive Committee, Missionary Department,
The Church of Jesus Christ of Latter-Day Saints

Career mentor for local high school, college and medical school students

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HONORS AND AWARDS

Post-fellowship

Distinguished Fellow status - The American Psychiatric Association (DFAPA)

Fellowship

Chosen as “Landmark Case Scholar” for 2002-2003 Forensic Psychiatry Fellowship, UC-Davis,
Sacramento, California

Residency

Elected to serve as a Utah Medical Association delegate representing residents and fellows
Created a private practice psychiatry elective for senior psychiatry residents

Awarded the Pfizer Neuroscience “Psychiatry Resident of the Year” 2002 APA Fellowship

Medical School

Elected to serve as a medical student delegate in the Utah Medical Association
Chosen to serve on the Medical School Admissions Committee, 1997-98

Received the Lardinois Award for the superior presentation of a student research project at the
Western Student Medical Research Forum in Carmel, California; February 1996

PROFESSIONAL SOCIETY MEMBERSHIPS

American Academy of Psychiatry and the Law
American Psychiatric Association (Distinguished Fellow)
Utah Medical Association

Utah Psychiatric Association (Past President)

Salt Lake County Medical Society

RESEARCH ACTIVITY AND PUBLICATIONS

Medical School

Research in the Department of Family and Preventative Medicine. Wrote the first draft of an
original article entitled “Psychiatric Symptomatology and Distress Among Older High-Utilizing
HMO patients”. This work resulted in the following publication:

Haas LJ, Spendlove DC, Silver MP, Holmberg TC: Psychopathology and
Emotional Distress Among Older High-Utilizing Health Maintenance
Organization Patients. Joumal of Gerontology: MEDICAL SCIENCES

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54A: No. 11, M577-M582, 1999.

Research in the Emergency Medicine Division evaluating pre-hospital care, “Appropriateness of
EMS Response in a Priority Dispatch System” Holmberg T, Joyce SM. The abstract was published
in Annals of Emergency Medicine, Sept 1998, 32 (3): S37. I presented this work at the American
College of Emergency Physician’s Annual Research Forum, 1998.

Residency

Prepared a medical, legal and ethical analysis of recent legislative efforts to require chemical
castration of certain sex offenders. I presented this research at the University of Utah Department
of Psychiatry’s Grand Rounds in June 2002.

Fellowship

In October 2002, I presented a poster at the annual meeting of the American Academy of Psychiatry
and the Law entitled “Update on ‘Chemical Castration’ of Sex Offenders.”

Post-fellowship

Scott CL, Holmberg TC: Castration of Sex Offenders: Prisoner’s Rights Versus Public
Safety. J Am Acad Psychiatry Law 31:502-9, 2003.

Textbook chapter, Malpractice and Liability in Psychiatry. Co-author of Chapter 18:
“Negligent Psychotherapy,” Springer Nature, in press.

NATIONAL PRESENTATIONS

2002 "Update on ‘Chemical Castration’ of Sex Offenders." Poster presentation at the American
Academy of Psychiatry and the Law's Annual Meeting, Newport Beach, California.

2009 "Ask the Experts." Workshop presented at the American Academy of Psychiatry and the
Law's Annual Meeting, Baltimore, Maryland.

2011 "Difficult Forensic Cases." Workshop presented at the American Academy of Psychiatry
and the Law's Annual Meeting, Boston, Massachusetts.

2012 "Then Who Can You Trust? Impaired Physicians, Attorneys, and Police Officers."
Workshop presented at the American Academy of Psychiatry and the Law's Annual
Meeting, Montreal, Quebec, Canada.

2012 "Starting a Forensic Private Practice." Half-day course taught at the American Academy of
Psychiatry and the Law's Annual Meeting, Montreal, Quebec, Canada.

2013 "A Fluid Goldwater Rule: Grasping the Brass Ring of Publicity." Workshop presented at
the American Academy of Psychiatry and the Law's Annual Meeting, San Diego, California

2014 "Physician, Heal Thyselfe" Panel Discussion presented at the American Academy of
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Psychiatry and the Law's Annual Meeting, Chicago, Illinois.

2015 "Developing and Optimizing a Private Forensic Practice." Half-day course taught at the
American Academy of Psychiatry and the Law's Annual Meeting, Ft. Lauderdale, Florida.

2016 "MOC: Keep, Polish or Abolish?" Debate moderated at the American Academy of
Psychiatry and the Law's Annual Meeting, Portland, Oregon.

2017 "Will I Be Harmed at Work Today?" Workshop presented at the American Academy of
Psychiatry and the Law's Annual Meeting, Denver, Colorado.

2018 "Working with Lawyers: The Good, the Bad, and the Ugly." Workshop presented at the
American Academy of Psychiatry and the Law's Annual Meeting, Austin, Texas.

2019 "Forensic Psychiatry in the U.S.: A 50+ Year Retrospective.” Panel discussion presented
at the American Academy of Psychiatry and the Law's Annual Meeting, Baltimore,
Maryland.

2019 "Insanity in Utah - Current Status and Future Directions." Flash talk presented at the

American Academy of Psychiatry and the Law's Annual Meeting, Baltimore, Maryland.

2019 "Of Sound Mind: Forensic Psychiatric Opinions in Contested Will Cases." Workshop
presented at the American Academy of Psychiatry and the Law's Annual Meeting,
Baltimore, Maryland.

2020 "Remote Forensic Psychiatry: Discussing the Trial and Tribulations of Forensics During
COVID-19.” Webinar presented at the American Academy of Psychiatry and the Law's
Annual Meeting

LOCAL/REGIONAL PRESENTATIONS

2002 "Chemical Castration of Sex Offenders." Research presented at the University of Utah
Department of Psychiatry's Grand Rounds, Salt Lake City, Utah.

2008 "Tough 'Sell': Involuntary Medication to Restore Competency to Stand Trial." Continuing
education presentation given to the staff of the Utah State Hospital.

2009 "Psychotropic Medications in Corrections." Presentation given during CIT (Crisis
Intervention Team) training for correctional officers, Salt Lake City, Utah.

2011 "Psychiatric Consultation in Criminal Cases." Presentation given at the annual Wyoming
Public Defenders' Conference, Lander, Wyoming.

2015 "Wounded Healers: Taking Care of Our Own." Presentation to the medical staff at St.
Mark's Hospital, Salt Lake City, Utah.

2015 "Wounded Healers: Taking Care of Our Own." Presentation at the Utah Psychiatric
Association's Spring Conference, West Jordan, Utah.

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2016

2017

2017

2018

2019

2019

2020

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"Update on Eating Disorders Among Missionaries." Presentation to the medical staff of
the Church of Jesus Christ of Latter-Day Saints' Missionary Department, Salt Lake City,
Utah.

"Update on Eating Disorders Among Missionaries.” Presentation to the nursing and allied
mental health staff of the Church of Jesus Christ of Latter-Day Saints’ Missionary
Department, Salt Lake City, Utah.

"Update on Forensic Psychiatry, including Duty to Warn." Presentation to the staff at the
Utah Center for Evidence Based Treatment, Salt Lake City, Utah.

“Dial M for Malpractice.’ Grand rounds presentation to the psychiatrists, residents,
medical students and nurses and staff at the University of Utah Department of Psychiatry.

"Dial M for Malpractice: Ethical Practices to Decrease Liability." Continuing education
presentation give at the Generations 2019 mental health conference.

Testified in front of the Judiciary Interim Committee at the Utah State Capitol during the
Utah State Legislative Session concerning an insanity defense bill.

Testified in front of the House Government Operations Standing Committee at the Utah
State Capitol during the Utah State Legislative Session concerning an insanity defense bill.

MEDIA INTERVIEWS/APPEARANCES

2018

2019

2020

News4Utah (ABC affiliate), “Mental health expert says Josh Holt may need time to heal
after prison release,” Rosie Nguyen, May 30, 2018.

The Washington Post, “Alabama governor signs ‘chemical castration’ bill for some sex
offenders,” June 11, 2019

Psychiatric News, “Taking the Fight for the Insanity Defense to the States,” Katie
O’Connor, November 3, 2020.

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SYCHOLOGY

DR. JONATHAN D. BONE
Licensed Psychologist

801-419-8558
EDUCATION
2003-06 University of Denver, Denver, Colorado. APA Accredited
Doctor of Psychology, Clinical with Forensic Specialization
2005-06 Federal Medical Center for Federal Prisoners, Devens, MA. One-Year APA Accredited Pre-
Doctoral Internship
2001-03 Drexel University, Philadelphia, Pennsylvania APA Accredited
MA. Clinical Psychology, Forensic Track
1996-99 The Evergreen State College, Olympia, Washington

B.A. Psychology, emphasis on Multicultural Psychology

LICENSE & CERTIFICATION
Licensed Psychologist, State of Utah # 6314549-2501
Licensed Psychologist, State of Idaho # PSY-202440 (inactive)
National Register of Health Care Providers in Psychology # 53320
Designated Examiner (Civil Commitment), State of Utah, Department of Human Services, Division of
Substance Abuse and Mental Health

AFFILIATIONS

January 2009-Present
Adjunct Professor, Department of Psychiatry, University of Utah
University of Utah Health Sciences Center — Clinical Privileges

November 20 | 3-Present
Designated Examiner for the State of Utah
Civil Commitment Court

August 2012-January 2014
Clinical Psychologist, Department of Surgery, University of Utah Health Sciences Center — Clinical
Privileges

August 2009-July 2012
Designated Forensic Examiner, State of Utah, Department of Human Services, Division of
Substance Abuse and Mental Health

CLINICAL EXPERIENCE
April 2008-Present
Small Business owner, Salt City Psychology, PLLC
Private Practice
Forensic Mental Health Assessment — Criminal (Adult & Juvenile)
Competence to Proceed to Trial, Waive Miranda, etc.
Downward Departure
Criminal Responsibility
Mental State at the Time of Offense (MST)
Violence Risk Assessment
Psychosexual Evaluation and Sexual Violence Risk Assessment
Substance Abuse Evaluation
Capital Sentencing Mitigation
Pre-Sentence Evaluations

Forensic Mental Health Assessment — Civil

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Personal Injury & Tort (Plaintiff & Defense)

Guardianship & Conservatorship

Competence to Consent to Treatment

Fitness for Duty

Social Security Disability Insurance (SSDI)

Post-Traumatic Stress Disorder (PTSD)

Rule 35 Evaluations (Independent Medical Examination — IME)
Impaired Professional Evaluations (DOPL)

Forensic consultation, training, & expert testimony.

Provide examination and testimony in the context of civil commitment.

Psychological assessment, including psychoeducational, learning disability, ADHD, substance use
disorders, personality, etc.

Provide individual psychological treatment for adults and adolescents.

Substance use disorder evaluation and treatment.

Perform preoperational psychological evaluations for those pursuing bariatric surgery, organ
transplant, or spinal cord stimulators & pain pumps.

Offer pre- and post-operational treatment and evaluation services for bariatric patients.
Supervise and train other doctoral level psychologists.

October 201 7-Present
Small Business Owner, Equilibrium Healthcare, LLC
Outpatient Clinic for Substance Use Disorder
Evaluate, diagnose, and treat adults with substance use disorder(s).
Collaborate with co-founder, Amy de la Garza, M.D., to provide fully integrated behavioral
medicine with primary care.

june 2007-January 201 !
Psychological Solutions, Inc.

Conducted comprehensive psychological evaluations of male and female adolescents and young
adults in residential and/or wilderness therapy settings.
Assessments include learning disabilities, disordered eating, ADHD, personality, mood, anxiety,
and substance use disorders.
Provided clinical consultation/recommendation to treatment staff at wilderness therapy
programs; therapeutic boarding schools; and residential treatment centers.

October 2006-April 2009
Center for Family Development
Utah Department of Corrections Affiliate Sex Offender Treatment Provider.
Conducted court-ordered psychosexual evaluations and sexual risk assessments.
Provide individual, family, couples, and group psychotherapy to adult, male and female sex
offenders on probation or parole.
Many of these individuals have comorbid psychiatric and/or substance use disorders.

September 2005-September 2006
Federal Medical Center for Federal Prisoners, Devens, MA — Bureau of Prisons, APA Accredited
Predoctoral Psychology Intern — One-year appointment
Paul Anderson, Psy.D., Board Certified Clinical Psychologist, Chris Bersani, Psy.D., Board Certified Health
Psychologist, Christine Scronce, Ph.D., & Cheryl Renaud, Ph.D. Clinical Supervisors
Major Rotation: Forensic
Conducted competency to stand trial and not guilty by reason of insanity evaluations for Federal
Court.
Conducted Violence Risk Assessments as part of Federal Civil Commitment Proceedings.
Minor Rotations: Mental Health Unit, General Population, Sex Offender Management, Health
Psychology, Substance Abuse.

Curricula Vitae
Jonathan Bone, PsyD , 2
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Conducted comprehensive, full battery diagnostic psychological evaluations to facilitate treatment
and management of inmates who are seriously and chronically mentally ill.
Served on multidisciplinary treatment team to address the needs of ~200 inmates with chronic
and severe mental illness and comorbid medical illnesses.
Conducted psychosexual evaluations, developed and implemented behavioral treatment plans,
and provided individual treatment to individuals in the Sex Offender Management Program
(SOMP).
Provided substance abuse treatment and psychoeducation.
Provided individual and group therapy to inmates in the general prison population and those in
mental health unit.
Provided individual treatment to inmates living with chronic medical conditions.
Conducted health psychology assessments, including suitability for renal transplantation and
Interferon treatment for Hepatitis C.

Supervision:
Provided weekly treatment and assessment supervision to one, second-year doctoral student
extern.

RESEARCH
January 2005-August 2006
Dissertation, original research
Lavita Nadkarni, Ph.D., Chair
Title: African American Inmate Perceptions of Mental Health Service Utilization in Prison.

September 2002-June 2003

Graduate Research Assistantship

Research assistant, Drexel University, Philadelphia, PA.

Kirk Heilbrun, Ph.D., Supervisor

Research area:
Community Outcomes Study. Included the validation of Classification of Violence Risk (COVR),
an actuarial, computer-based violence risk assessment tool, as part of the follow up to the
MacArthur Study of Mental Disorder and Violence.
Interviewed research participants in a state forensic psychiatric hospital.
Interviewed participants for follow-up in their communities.
interviewed collaterals to participants in their communities.

September 2001-February 2002
Research assistant, MCP Hahnemann University, Philadelphia, PA.
Kirk Heilbrun, Ph.D., Supervisor
Research area:
Violence Risk Communication.

PUBLICATION
Monahan, John., Heilbrun, Kirk., Silver, Eric., Nabors, Erik., Bone, Jonathan., & Slovic, Paul. (2002).
Communicating violence risk: Frequency formats, vivid outcomes, and forensic settings. International
Journal of Forensic Mental Health, 1(2), 121-126.

LEADERSHIP
August 201 7-August Present
Public member Utah State Bar Ethics and Discipline Committee appointed by Utah Supreme Court.

April 201 2-November 2012
One of three consulting Forensic Psychologists on an interdisciplinary team contracted with the State of
Utah to develop best practices standards and procedures for the evaluation of juvenile adjudicative
competency to align with House Bill 393, effective May 8, 2012.

Curricula Vitae
Jonathan Bone, PsyD 3
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January 2008-June 2010
Secretary, Board of Directors, Utah Coalition Against Sexual Assault www.ucasa.org.

MEMBERSHIP
American Psychological Association
American Psychology-Law Society — Division 41 APA
Association for the Treatment of Sexual Abusers ~ Clinical Member (Certified 2000+ hours direct
experience with individuals who offend sexually)

PRESENTATIONS
November 30, 2018: “Self-care and Family Law: A New Approach to Substance Use Disorder.”
Continuing Legal Education for members of the Family Law section of the Utah State Bar.

October 6, 2017: “Forensic Services: Right, Wrong, and In Between,” Effective Use of Forensic
Psychologists, 2017 Annual Seminar Utah Association of Criminal Defense Lawyers.

December 7, 2012: Utah’s New Juvenile Competency Statute: Screening for Competency and the

Relevance of Developmental Immaturity. For: Utah Association of Criminal Defense Lawyers.
CONTINUING EDUCATION

September 8-10, 2016 American Academy of Forensic Psychologists — 21 hours

November 12-16, 2014 American Academy of Forensic Psychologists — 35 hours

March 28-31, 2012: American Academy of Forensic Psychologists — 30 hours

September 2009 through April 2014 consultation with Mark Zelig, Ph.D., ABPP (Clinical &
Forensic), approved Continuing Education provider through the American Psychological Association

Curricula Vitae
Jonathan Bone, PsyD 4
